 Case 2:19-cv-00343-JRG Document 13 Filed 01/27/20 Page 1 of 1 PageID #: 60



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

TERESA Y. WALTON,                                §
                                                 §
               Plaintiff,                        §
                                                 §
v.                                               §   CIVIL ACTION NO. 2:19-CV-00343-JRG
                                                 §
EDWARD SLOAN AND ASSOCIATES,                     §
INC.,                                            §
                                                 §
               Defendant.                        §

                                           ORDER

       Before the Court is Plaintiff Teresa Y. Walton’s (“Walton”) Unopposed Motion to Extend

Time to Designate Local Counsel and Continue Scheduling Conference (the “Motion”). (Dkt. No.

12.) In the Motion, Walton moves to extend time to designate local counsel and seeks a
    .
continuance of the Scheduling Conference set for January 28, 2020.

       Having considered the Motion and its unopposed nature, the Court is of the opinion that

the Motion should be and hereby is GRANTED. Accordingly, it is ORDERED that the

Scheduling Conference for this case will be rescheduled to a day and time to be later set by the

Court. Absent extraordinary circumstances, the Parties should not expect further continuances of

the Scheduling Conference.

      So ORDERED and SIGNED this 27th day of January, 2020.




                                                       ____________________________________
                                                       RODNEY GILSTRAP
                                                       UNITED STATES DISTRICT JUDGE
